151 F.3d 1026
    Jacquelyn B. N'Jaiv.Pittsburgh Board of Public Education, Pittsburgh Federationof Teachers, Mary Ellen McBride, Principal, RobertaDiederich, School Nurse, Lois Peckich, Payroll Secretary,Joanne Lubert, Developmental Advisor, Susan Musical,Librarian, Accountant, Stpehen Radcoski, PFT Rep.
    NO. 97-3213
    United States Court of Appeals,Third Circuit.
    April 30, 1998
    Appeal From:  W.D.Pa. ,No.94cv2096
    
      1
      Affirmed in part, Reversed in part.
    
    